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 5 Attorney for Defendant
     NICK SHKOLNIK
 6

 7

 8
                           UNITED STATES DISTRICT COURT
 9
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
10

11 UNITED STATES OF AMERICA,                       )   Case No.: 2:22-cr-00046-WBS-2
12
                                                   )
                              Plaintiff,           )
13
                                                   )   DEFENDANT’S WAIVER OF
                    v.                             )   APPEARANCE
14 NICK SHKOLNIK
                                                   )
                                                   )
15
                                                   )
                              Defendant.           )
16
                                                   )
                                                   )
17
                                                   )

18
           Defendant, Nick Shkolnik, hereby waives his right to be present in open
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     court upon the hearing of any motion or other proceeding in this case, including
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     when the case is set for trial, when a continuance is ordered, when time is
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     excluded under the Speedy Trial Act, when a detention hearing is held, and when
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     any other action is taken by the Court before or after trial, except upon
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     arraignment, plea, trial confirmation, empaneling of jury, or imposition of
24
     sentence. Defendant hereby requests the Court to proceed during his every
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     absence that the Court may permit pursuant to this waiver; and agrees that his
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     interests will be deemed represented at all times by the presence of his attorney,
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28                                             1


                         DEFENDANT’S WAIVER OF APPEARANCE
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 1 the same as if the defendant were personally present; and further agrees to be

 2 present in person in court ready for trial on any date that the Court may fix in his

 3 absence.

 4

 5 DATED: January 20, 2023                        /s/ Nick Shkolnik______________
                                                  NICK SHKOLNIK
 6                                                Defendant
 7

 8

 9 DATED: January 20, 2023                 By:    /s/ Victor Sherman _____________
                                                  VICTOR SHERMAN
10                                                Attorney for Defendant
11

12

13                                         Order

14 IT IS SO ORDERED.

15
     Dated: January 24, 2023
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                        DEFENDANT’S WAIVER OF APPEARANCE
